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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

TERRI D. WRIGHT,

                   Plaintiff,

       v.                                              Case No. 1:20-cv-02471-KBJ

EUGENE & AGNES E. MEYER
FOUNDATION, et al.


                   Defendants.

                                             [PROPOSED] ORDER

       Upon consideration of Defendants Eugene & Agnes E. Meyer Foundation (“the

Foundation”) and Nicola Goren (“Ms. Goren”) (collectively “Defendants”) Motion to Dismiss, the

Memorandum of Points and Authorities in support thereof, any opposition to the Motion, the reply,

and the entire record herein, it is hereby

        ORDERED that Defendants’ Motion to Dismiss is GRANTED; and the Complaint is

hereby DISMISSED.




Date: _____________



                                       Judge Ketanji Brown Jackson
                                       United States District Court Judge
